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WESTERN DIVISI()N
'§‘:if§r~" §
PAMELA M. BROWN and
JONATHAN W. BROWN,
Plaintiff,
vs. No. 04-02369-BBD

H()MER SKELTON FORI), INC.,

Defendant.

 

ORDER COMPROMISE AND DISMISSAL WITH PREJUDICE

 

In this cause came the Plaintifi`s, Pa:mela M. Brown and Jonathan W. Brown, and the
Defendant, I~Ioiner Skelton Ford, lnc. Who represented to the Court that all matters, issues and
controversies by and between them have been compromised and settled out of Court after
engaging in mediation, and that by virtue oi`said Release and Settlement Agreement properly
executed by the parties, the suit of the Plaintiffs, Pamela M. Brown and Jonathan W. Brown as to
the Dei“endant, Homer Skelton Ford, lnc. is dismissed in bar of the right of the Piaintit`fs to re-
institute said suit.

It is therefore, ORI)ERED AND AI)JUI)GED that the suit of the Plaintiffs, Pamela M.
Brown and .lonathan W. Brown, herein against the Defendant, Homer Skelton Ford, lnc. be and
the same hereby is dismissed, with prejudice` in bar of the right of Plaintiffs to re-institute said

suit.

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lt is further ORDERED that Court costs shall be taxed to the Dei`endant, Horner Skelton
Ford, lnc., and that the Plaintiffs shall not be entitled to and shall not recover any discretionary

costs pursuant to Federal Rule of Civil Procedure 54.

Entered this the 2d day oi` 2 2 ?Wé 2005.

B NICE B. D AL-I)
UNITED STATES DISTRICT .l UDGE

 
   

APPROVED FOR ENTRY:

LAW FICE OF LAUREN HOLLOWAY

MW~

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Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
case 2:04-CV-02369 Was distributed by faX, mail, or direct printing on
May 2, 2005 to the parties listed.

ESSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

